Case:20-12377-MER Doc#:777-2 Filed:01/22/21                   Entered:01/22/21 17:08:13 Page1 of 2




                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

  IN RE:                                                  )
                                                          )     Case No. 20-12377-EEB
  SKLAR EXPLORATION COMPANY, LLC                          )
  EIN: XX-XXXXXXX                                         )     Chapter 11
                                                          )
     Debtor.                                              )
                                                          )
                                                          )
                                                          )     Case No. 20-12380-EEB
  SKLARCO, LLC                                            )
  EIN: XX-XXXXXXX                                         )     Chapter 11
                                                          )
  Debtor.                                                )

   ORDER GRANTING EXPEDITED MOTION TO SET HEARING ON MOTION FOR
   CLARIFICATION OF ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET OF
                JOINT INTEREST BILLING OBLIGATIONS

           THIS MATTER, having come before the Court on the Debtors’ Expedited Motion to Set
  Hearing on Motion for Clarification of Orders and to Authorize Immediate Offset of Joint
  Interest Billing Obligations (“Motion”), the Court having reviewed the Motion, finding good
  cause for granting the requested relief, does hereby
           ORDER
           That the Motion is GRANTED. A hearing on the Debtors’ Motion for Clarification of
  Orders and to Authorize Immediate Offset of Joint Interest Billing Obligations (Docket No. 551)
  is set for ______________ __, 2021 at __:__ _.m.


         DONE and entered this                                  day of January, 2021 at Denver,
  Colorado.


                                                                BY THE COURT:



                                                                Honorable Elizabeth E. Brown
                                                                United States Bankruptcy Judge
Case:20-12377-MER Doc#:777-2 Filed:01/22/21   Entered:01/22/21 17:08:13 Page2 of 2
